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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                      NORTHERN DISTRICT OF OKLAHOMA



UNITED STATES OF AMERICA,                )

                                         )

                    Plaintiff,           )

                                         )

v.                                       )       09-CR-43-SPF

                                         )

LINDSEY KENT SPRINGER and                )

OSCAR STILLEY,                           )

                                         )

                    Defendants.          )




         MOTION FOR LEAVE TO EXCEED PAGE LIMIT AND TO OMIT TABLE

                OF CONTENTS

Lindsey Kent Springer “Springer” moves the court for an order to allow his amended

motion for stay of execution of judgement and release on bond pending appeal

exceeding the page limit set by local civil rule 7.2 and local criminal rule 1.2.

      Local civil rule requires any motion exceeding 15 pages to contain a table of

contents and any motion exceeding 25 pages requires leave to file. Springer is

currently incarcerated at the David L Moss correctional Center and is unable to


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provide the table of contents at this time. Springer’s previous motion, which this court

struck on April 30th 2010, was 47 pages long.        Springer has deleted the entire

background and history to reduce the total page number to 32. The issues contained

in Springer’s motion are not new to this court nor are they new to the government. The

government suffers no prejudice in this court allowing Springer to exceed the page

limit and to file his motion without a table of contents. Springer files his motion for

relief because that is what the 10th circuit requires. If Springer was not in custody, he

would have had no trouble complying with this Court’s instruction of Civil and

Criminal rules.

      Springer attaches his corrected amended motion as Exhibit A.

                           CONCLUSION

      Therefore, Lindsey Kent Springer requests this court to issue an order allowing

him to file his amended motion for release and stay and execution of judgement to

exceed the page limit of 25 up to and including 32 pages and without a table of

contents.




                                  Respectfully Submitted
                                  /s/ Lindsey K. Springer
                                  Lindsey K. Springer
                                  5147 S. Harvard, # 116
                                  Tulsa, Oklahoma 74135
                                  918-748-5539/955-8225(cell)



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                      CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of Lindsey Kent Springer’s

Motion for Leave to Exceed Page Limit and To Omit Table of Contents was ecf’d on

April 30, 2010, to:

And mailed to Oscar Stilley at: David L Moss, 300 N Denver, Tulsa,OK 74103
                                      Inmate#1189798


Kenneth P. Snoke,
Charles O’Reilly,
Oscar Stilley




                          /s/ Lindsey K. Springer
                          Signature




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